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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                               October 03, 2017
                        UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §   CRIMINAL NO. 2:17-CR-431-4
                                            §
GERALD LEON GRAVES                          §

      OPINION AND ORDER GRANTING MOTION FOR CONTINUANCE

       On October 2, 2017, Defendant Graves moved for a continuance of the final

pretrial conference and jury selection and trial in order to schedule his appearance and

trial with the co-defendants scheduled for the November docket (D.E. 91). 18 U.S.C. §

3161(h)(6). The United States was unopposed to the motion.

        The Court GRANTS the Defendant’s motion and CONTINUES the final

pretrial conference until October 25, 2017, at 9:00 a.m. before undersigned and schedules

the jury selection and trial for November 6, 2017, at 9:00 a.m. before Hon. Nelva

Gonzales Ramos.

       ORDERED this 3rd day of October, 2017.


                                            ___________________________________
                                            B. JANICE ELLINGTON
                                            UNITED STATES MAGISTRATE JUDGE




1/1
